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“—T-7 DAVID YEGER LAW PLLC

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July 19, 2021
VIA ECF

Hon. Valerie Caproni, U.S.D.J.
United States District Court
Southern District of New York
40 Foley Square, Room 240
New York, NY 10007

Re: Mayweather Promotions, LLC v. PAC Entertainment Worldwide LLC:
21-cv-4378 (VEC)

Dear Judge Caproni:

I was just retained as new counsel for PAC Entertainment Worldwide LLC, the defendant in
the above-referenced action. I filed a Notice of Appearance this morning and will shortly be filing a
formal substitution of counsel. I am writing pursuant to your Honor’s Individual Practices to request
a 2-week extension of Defendant’s time to file its Answer to the Complaint. Defendant’s response to
the Complaint was originally due on June 10, 2021 and there have been two prior requests for
extension made by Defendant’s prior counsel.

Based on the current due date of July 22, 2021, the new proposed answer date would be
August 5, 2021. This final request for an extension of this deadline is necessitated by my recent
retention, and the time I require to consult with my client and investigate the matter in order to
properly prepare Defendant’s Answer. I have reviewed the Case Management Order entered by the
Court on July 16, 2021 [ECF 23], and this request will not adversely impact the discovery end date
set forth in the Order. Defendant does not intend to file a pre-answer motion to dismiss. Per my
discussion with Michael Williams, plaintiffs counsel, plaintiff takes no position on this request.

Respectfully submitted,
\si) Dawid Yeger
David Yeger
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